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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                RICHMOND DIVISION


 UNITED STATES OF AMERICA

 v.                                                             CASE NO. 3:13CR178-10

 JOSUE IVAN CAMACHO-MENDOZA,

                                       Defendant



                                              ORDER

        This matter is before the court for consideration of a report and recommendation by the

 Magistrate Judge regarding the Magistrate Judges acceptance of the Defendants plea of guilty to

 specified charges in the pending matter pursuant to a Fed. R. Crim. P. 11 proceeding conducted by

 the Magistrate Judge with the consent of the Defendant and counsel. It appearing that the

 Magistrate Judge made full inquiry and findings pursuant to Rule 11; that the Defendant was given

 notice of the right to file specific objections to the report and recommendation that has been

 submitted as a result of the proceeding; and it further appearing that no objection has been asserted

 within the prescribed time period, it is hereby

        ORDERED that the report and recommendation of the Magistrate Judge is ADOPTED and

 the Defendant is found guilty of Counts One and Six of the Superseding Indictment.



                                                                    /s/
                                                   James R. Spencer
                                                   Senior U.S. District Judge

 Dated: 5/27/14
